Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 1 of 11 PageID #: 315


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

------------------------------------------------------------------------------}(
MALEK HARRISON,
                                            Plaintiff,                             14-CV-01296 (JFB)(AKT)
                 v.
STATE OF NEW YORK,                                    Return Date: June 21, 2014
COUNTY OF NASSAU, NASSAU COUNTY POLICE DEPT.,
NASSAU COUNTY DETECTIVE RONALD RISPOLI,                             FILI!D
                                                               IN CLERK'S OFFICE
NASSAU COUNTY DETECTIVE ANTHONY DICAPRIO,                 U S DISTRICT COURT E D N V
NASSAU COUNTY DETECTIVE JEFFREYS. MARSHALL,
NASSAU COUNTY OFFICE OF THE DISTRICT ATTORNEY,
JHOUNELLE CUNNINGHAM, ASST., DISTRICT ATTORNEY,
                                                                   ~UN 2 3 2014
                                                                                        *                      *
THE T.J}( COMPANIES, INC.,
NILS RENNER, T.J}( MARMAJO{ NAT'L TASKFORCE INVESTIGATOR, LONG ISLAND OFFICE
CHRISTINE GRIMAUDO, MARSHALL'S CASHIER,
US SECRET SERVICE
US SECRET SERVICE AGENT, JOSEPH GERBINO
GEOFFREY PRIME, ATTORNEY                              PLAINTIFF'S REPLY TO
THE LAW OFFICE OF ELLIOT SCHLISSEL                    DEFENDANT'S REPLY
                                                      IN FURTHER SUPPORT
                                                      OF MOTION TO DISMISS
                            Defendants.
------------------------------------------------------------------------------}(
        For his reply to defendant's reply in further support of motion to dismiss, plaintiff respond as

follows:

                                           RESPONSE TO ARGUMENTS

         Plaintiff deny the two (2) points offered in Defendant Geoffrey Prime's May 30, 2012

submission.

                                                   BACKGROUND

        On Friday February 1, 2013, Plaintiff was represented by Nassau County Legal Aid and the

judge ordered that he be made to stand trial on Monday February 4, 2013. On February 4, 2013,

however, allegedly due to some, yet to be revealed, conflict of interest, as intimated by Nassau County

Legal Aid--that office would be no longer permitted to continue as plaintiff's legal representative and

his legal representation would instantly fall to Defendant Geoffrey Prime of the Nassau County       RECEIVED
                                                                                                   JUN 7 :J 2074
                                                                                                 EDNY PRO SE OFFICE
Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 2 of 11 PageID #: 316


Assigned Defender Plan. The impromptu appointment of Geoffrey Prime, at first glance, appeared

innocent, albeit coming under this cloud of a suspicious conflict of interest, which Plaintiff was

determined to explore since that conflict was related to someone employed in loss prevention at the

store where the crime was perpetrated. It was plausible that this conflict may've been due to the

involvement of a Marshalls Department Store employee's involvement in the crime(s) for which

plaintiff had been arrested and charged-possibly even Nils Renner, former TJX National Task-force

Investigator from Target. This was yet another factor that Defendant Prime refused to investigate that

was reasonable for competent defense counsel to thoroughly review after Plaintiff had presented the

information to him.

                                  REPLY TO DEFENDANT'S POINT I & II

       The impromptu appointment of Defendant Geoffrey Prime, under this cloud of the admitted

conflict of interest, must be thoroughly explored if the Court is to make a determination ruling out

Plaintiff's assertion that such appointment violated Rule 11 of the Nassau County Assigned Defender

Plan, requiring "Attorney of the Day" assignments to have been scheduled since November 2012.

Simply put, the unlawful appointment of Defendant Prime in violation of the above-mentioned Rule

exposes an orchestrated scheme to ensure that Prime became Plaintiff's representative in cases

Defendant Nassau County District Attorney ("NCDA") knew it would have difficulties prosecuting.

Plaintiff demands discovery of the November 2012 schedule for "Attorney of the Day" and avers that

Defendant Prime was performing as a state actor when he accepted this unscheduled assignment, which

allowed him to act as a proxy for "NCDA." What better assurances exists for the "NCDA" than to have

its own 'inside man' operating under the guise of defense counsel to assist in ensuring that Plaintiff's

case would exclude the pursuit of Nils Renner-the alleged identifying witness, whom plaintiff had

repeatedly revealed to Defendant Prime as the key to dismissing the case against him.

       It is, therefore, Plaintiff's contention that Defendant Prime was a 'state actor' in every respect

pursuant to§ 1983 by the establishment of reasonable evidence to suggest that Defendant Prime was

unlawfully placed as defense counsel for the sole purpose of sabotaging the case in favor of the
Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 3 of 11 PageID #: 317


Defendant "NCDA."

         Plaintiff certainly does not expect defendant to agree with his assessment of the facts presented

here, but will trust in the unbiased rationale of the Court in determining whether his original complaint

and successive responses to defendant's blanket denials gives rise to any credence. If it is found that

Defendant Prime was unlawfully placed as "Attorney of the Day", for February 4, 2013, it would

affirmatively suggest evidence of collusion between Defendants Prime and the ''NCDA", i.e., a

conspiracy, or a meeting of the minds, etc. This questionable appointment is an issue that is glaringly

absent from any of the arguments or points presented in Defendant's moving papers, as if intentionally

avoiding the fact of its existence.

         Defendant Prime has tried unsuccessfully to dissuade the Plaintiff from his desire to call Nils

Renner, despite the fact that any reasonable person, likewise any competent attorney, would find that

Nils Renner could not have written that key identifying statement. A closer look at additional discovery

evidence, namely its comparison with Defendant Ronald Rispoli's Police Report, proved that both

documents were essentially copy and pasted duplicates of the other. Defendant Prime immediately

dismissed Plaintiffs fmding as "insignificant" and "common practice for the police in writing witnesses'

statements. I would ask that the Court indulge Plaintiff and allow him to present these pieces of

evidence to demonstrate just how unreasonable Defendant Prime's position was. Prime, not only

refused to call Nils Renner to substantiate the information found in the statement, but he deliberately

attempted to mislead the Plaintiff saying ''NCDA" "does not need Nils Renner to obtain a conviction at

trial." The Court should note that Defendant Prime here referenced a 'trial' that could have never taken

place under the circumstances of the lack of a valid instrument--a fact he either knew or should have

known.

         After several months into Prime's representation and numerous emails and conferences in which

Plaintiff 'encouraged' him to take action, Defendant Prime grew tired of Plaintiffs persistence with his

unabated desire to include Nils Renner in the trial proceedings and Prime relented, thus making the

claim that he had submitted documents to the court requesting the monies to employ a private
Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 4 of 11 PageID #: 318


investigator to seek out Nils Renner for the proposed trial. A couple of weeks later, when asked about

the private investigator's progress in tracking down Nils Renner, he claimed that he was unsuccessful in

locating him. Plaintiff does not believe that an application was ever made to the court to authorize

funds to pay for a private investigator as relayed by Defendant Geoffrey Prime and that this, too, was

yet another smoke screen in his pretend representation. Again, discovery of any application made in this

case by Defendant Prime would be documented and therefore available and Plaintiff seeks such

discovery. Subsequently, Plaintiffs uncle was able to locate Nils Renner within minutes online using a

simple Google search and relayed this information to Defendant Prime. True to form, Defendant Prime

vehemently refused to subpoena Nils Renner in an attempt to get to the truth of his alleged

identification of the Plaintiff. Ultimately, Plaintiff grew weary of Defendant Prime's active role in

attempting to exclude Nils Renner and filed a motion seeking his removal and explained his decision to

the judge on the record. A record which will reveal how Defendant Prime fought to remain Plaintiffs

counsel eventhough that relationship had remained contentious from the outset and came to an end

when Prime attempted to exclude the "Statement ofNils Renner" from the courts consideration through

his untimely motion. Why would any attorney seek to remove such a key piece of evidence that would,

essentially, exclude the 'smoking gun' that could prove police misconduct? His actions here revealed

Defendant Prime's hidden agenda, which was to assist "NCDA" in shielding Defendant Ronald Rispoli

and itself from exposing police misconduct and the subsequent cover-up and malicious prosecution.

That's a conspiracy, in which Defendant Prime played a key role and that the Defendants all believed

would never be revealed and but for Plaintiffs strict attention to details, it would not have been

uncovered. If this could happen to the Plaintiff, it could happen to any member of an unwitting public.

Such sytematic cancers must be removed and by allowing this case to move forward, the Court's

decision will ultimately help to create independent checks and balances that will produce a more

reliable and trusted criminal justice system. Further, if one cannot rely on the services of his/her

counsel to operate in his/her best interest and for his counsel to not have an agenda of deceit and/or to

not possess a conflict of interest and misrepresented loyalties, then the system collapses under its own
Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 5 of 11 PageID #: 319


weight and is a sham.

       Ultimately, the truth became evident-Defendant Prime, like Defendant ADA Jounelle

Cunningham and her employer, "NCDA", were all seeking to exclude the only witness, Nils Renner,

who's testimony could prove, beyond a reasonable doubt, that Defendant Ronald Rispoli, manufactured

evidence that led to the arrest and malicious prosecution of the Plaintiff. Incidentally, Defendant opens

his preliminary statement pointing to the case's dismissal "several months      zxzxafter Prime was

appointed as counsel," but failed to reveal that Defendant did nothing but to prolong the case and that it

was his removal that ultimately paved the way for the case's dismissal, which, coincidently, ended after

the approximate adjournment date once a subpoena of Nils Renner was entered on the record. Nor did

Defendant Prime point out that no valid instrument existed during his tenure, a fact that any competent

attorney would have immediately been able to identify, had he not been working in concert with

Defendants "NCDA" and Jhounelle Cunningham in an effort to obtain a plea bargain despite the non-

validity of the District Court Information. To state a Section 1983 claim, "a plaintiff must allege (1)

that the challenged conduct was attributable at least in part to a person acting under color of state law,

and (2) that such conduct deprived the plaintiff of a right, privilege, or immunity secured by the

Constitution or laws of the United States." Dwares v. City ofNew York, 985 F.2d 94,98 (2d Cir.l993).

The evidence shows that Defendant Prime meets such qualifications, both from the circumstances

surrounding his unlawful appointment and his actions or inactions from that day forward, including, but

not limited to the inconsistent statements he made regarding the false notion that he obtained a private

investigator and other misleading comments regarding .



                PLAINTIFF'S REPLY TO DEFENDANT'S DAMAGES ARGUMENT

       In Roundtree v. Citv ofNew York, 617N.Y.S.2d 170, 171 (N.Y. App. 1st Dep't 1994) (mem.),

the First Department held that $200,000 was reasonable compensation for approximately 84 hours in

custody, or $2381 per hour. In Mercado v. City of New York, 703 N.Y.S.2d 283,283 (N.Y. App. 2d
Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 6 of 11 PageID #: 320


Dep't 2000) (mem.), the Second Department affirmed the jury's verdict that $120,000 was reasonable

compensation for a false arrest (time in custody not given by court in decision). In Martinez v. Port

Authority ofNew York and New Jersey, 445 F.3d 158, 160-161 (2d Cir. 2006) (per curiam), the Second

Circuit affirmed the lower court's ruling that $160,000 was reasonable compensation for approximately

19 hours in custody, or $8421 per hour. In Sylvester v. City ofNew York, 2006 WL 3230152, at *4

(S.D.N.Y. Nov. 8, 2006), the district court affirmed the jury's verdict that $30,000 was reasonable

compensation for "several hours" in custody at precinct (specific time in custody not given by court in

decision). In Landow v. Town of Amherst, 853 N.Y.S.2d 760, 761 (N.Y. App. 4th Dep't 2008) (mem.),

the Fourth Department affirmed the lower court's ruling that $10,000 was reasonable compensation for

approximately 4 hours in custody, or $2500 per hour. So, for the defendant to argue that "Plaintiff does

not claim that he was incarcerated during that time or that he was otherwise prejudiced by, at worst, a

nominal delay in obtaining a complete dismissal", is a bit presumptive. He agrees, however, that the

case continued for thirty-two months, which includes dozens of court appearances that immensely

disrupted Plaintiff's life. Plaintiff believes that the number of extended court appearances attributable to

Defendant Prime's negligence, conflict of interest, and conspiracy with Defendants ADA Jhounelle

Cunningham and "NCDA" from February 4, 2013 to October 21,2013, is a period for which he should

be held accountable. This period, which Defendant Prime only refers to as "a nominal delay in

obtaining a complete dismissal", does not diminish its impact on the Plaintiff's life. Nine (9)

unwarranted months of emotional turmoil and the fear of a trial compounded the stress caused by

counsel's deliberate and calculated negligence and overall malpractice, will have to be weighed against

the full scope of damages by the Court.

       Under both federal and state law, a person who is falsely arrested is entitled to compensation for

(1) loss of liberty, and (2) physical and/or emotional pain and suffering caused by the false arrest.

(Injuries caused by excessive force and malicious prosecution are compensated separately.)

Importantly, a person who is falsely arrested is legally entitled to compensation for loss ofliberty (to

redress denial of free movement and harm to personal dignity), even if he or she does not experience
Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 7 of 11 PageID #: 321


any additional physical or emotional pain and suffering. See Kennan v. City of New York, 374 F.3d

93,123-126 (2d Cir. 2004); Gardner v. Federated Department Stores, Inc., 907 F .2d 1348, 1353 (2d Cir.

1990). Obviously, a person who suffers more harm, including physical and/or emotional injuries,

would be entitled to more compensation than a person who suffers less harm, including only loss of

liberty. Nevertheless, "even absent such other injuries, an award of several thousand dollars may be

appropriate simply for several hours Joss ofliberty." Kennan, supra, at 125-126.

                                              CONCLUSION

        Lawyers have fiduciary duties to the clients - those duties are created to protect clients.

"There is no crueler tyranny than that which is exercised under cover of Jaw, and with the colors of

justice ... "- US. v. Jannotti, 673 F.2d 578,614 (3d Cir. 1982). Here, the Court is confronted with a truly

unique set of circumstances, circumstances where a layperson would find it seemingly insurmountable

to find some legal precedant-whereby a Plaintiff's defense counsel was handpicked by the prosecutor,

unlawfully appointed to the assignment, and who worked as a proxy to deny his own client's

constitutionally protected rights.


        WHEREFORE, Plaintiff, Malek Harrison, prays for the Court's rejection of the demand for

dismissal, as made by Defendant Geoffrey Prime in his reply in further support of motion to dismiss.

Plaintiff, hereby, also prays that he be awarded such other remedies and judgements as Plaintiff has

requested in his complaint and that he be further awarded his costs and disbursements herein in addition

to any such other relief as the Court may deem justified.



Dated: Rosedale, New York

       June 20, 2014

                                                             Malek Harrison, Pro Se Plaintiff
                                                             242-19 135"' Avenue
                                                             Rosedale, New York 11422
 Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 8 of 11 PageID #: 322


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

------------------------------------------------------------------------------]{
MALEK HARRISON,                                                                    CERTIFICATE OF
                                                                                   SERVICE


                                            Plaintiff,                             14-CV-01296 (JFB)(AKT)
                 v.
STATE OF NEW YORK,
COUNTY OF NASSAU, NASSAU COUNTY POLICE DEPT.,
NASSAU COUNTY DETECTIVE RONALD RISPOLI,
NASSAU COUNTY DETECTIVE ANTHONY DICAPRIO,
NASSAU COUNTY DETECTIVE JEFFREYS. MARSHALL,
NASSAU COUNTY OFFICE OF THE DISTRICT ATTORNEY,
JHOUNELLE CUNNINGHAM, ASST., DISTRICT ATTORNEY,
THE TJJ( COMPANIES, INC.,
NILS RENNER, TJJ( MARMAJ(X NAT'L TASKFORCE INVESTIGATOR,
CHRISTINE GRIMAUDO, MARSHALL'S CASillER.,
US SECRET SERVICE
US SECRET SERVICE AGENT, JOSEPH GERBINO
GEOFFREY PRIME, ATTORNEY
THE LAW OFFICE OF ELLIOT SCHLISSEL

                                            Defendants.
------------------------------------------------------------------------------]{
     I, Malek Harrison, declare under the penalty of purjury that I have served a copy of the attached
PLAINTIFF'S REPLY TO DEFENDANT'S REPLY IN FURTHER SUPPORT OF MOTION
TO DISMISS upon:

VIA FIRST-CLASS MAIL

CARNELL T. FOSKELY, Nassau county Attorney                       Matthew K. Flanagan, Esq.
Attn: Ralph Reissman, Esq.                                       Catalano, Gallardo & Petropoulos, LLP
One West Street                                                  100 Jericho Quadrangle- Suite 326
Mineola, New York 11501                                          Jericho, NY 11753

Attorney for the Nassau County Defendants                        Attorney for Law Firm of Elliot Schlissel

Craig M. Dolinger, Esq.                                          Daniel M. Maunz, Esq., Scott E. Kossove, Esq.
McAndrew Conboy & Prisco LLP                                     L'Abbate, Balkan, Colavita & Contini, LLP
1860 Walt Whitman Road, Suite 800                                1001 Franklin Ave.
Melville, NY 11747                                               Garden City, NY 11530

Attorney for TJJ(, Nils Renner & Christine                       Attorneys for Geoffrey Prime
Grimaudo
     Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 9 of 11 PageID #: 323
I



    Lori L. Pack                                    US Secret Service
    Office of the New York State Attorney General   Office of Governmennt an d Public Affairs
    300 Motor Parkway, Suite 205                    245 Murray Drive, Bldg., 410
    Hauppauge, NY I I 788                           Washington, DC 20223

    Attorney for the State of New York              Joseph Gerbino, Agent & US Secret Service


    Dated: Rosedale, New York

          June 20,2014

                                                       Malek Harrison, Pro Se Plaintiff
                                                       242-19 135"' Avenue
                                                       Rosedale, New York I 1422
 Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 10 of 11 PageID #: 324




UJ JAS"J,cl f'(}pfr-1;    ~!).;/;(.
/00 ~oio/ ?to_;;z_(L
G./lh-J :zs.!t/; AIY 1/7~:0

                                  tf.e-: !t/-C(-()!Zf6        {Jf'e)(Akr)
 lJtu   Cur'- u;.kv,ch        1



      E~closL-</'·?~a.J~ Jln/ oZ/ytJ-r~ rryp                       on   j~{f'r
 -tie ?~:,ri;!}C In -/Ae a.J~ve       cll-se, ?~s~ ;{'t_ ~,..._          a_   ce-o rcr'tj   J.
  ~s;/~-~1(~/ly 1                              FILED
                                           IN CLERI<'S OFFICE
                                                                   .
                                      U S DISTRICT COURT E D N y
  /14aleJ6 1/arrt'o m                  *    JUN 2 3 2014    *
                                       LONG ISLAND OFFICE
         Case 2:14-cv-01296-LDH-AKT Document 36 Filed 06/23/14 Page 11 of 11 PageID #: 325




                                                          '-                   '                                                 \
                                                                                                                                            '
,        /JJ
         ft/(a~L 1/arnj·tHJ
                                                                                               o}..~~-fq.
         ;lJ./;J,-19 !3 s- t-1--- Aw                                                        !:>
                                                                                         /Eu,r~                   '·
         /2oseclwf~ ;Jj IF-/.Z?-
                    J
                                                                                        :;:)
                                                                                        !
                                                                                        021M
                                                                                                     . . _ , Pfl'N£v BOWEs
                                                                                                  ·---
                                                                                                             $01.120
                                                                                        0004283623     JUN 20 2014
                                                                                        MAILED FROM ZIP CODE 111 0 1

                         RECEIVED
                        IN CLERK'S 01F!CE            "'        .   "'-                                                                              1
                                                 (
                  U.S. DISTRICT CGURT E D.N.Y.
                                                 /LI~.                     ;                   €-J
    r
     '
                   *    JUN 23 2014
                   LONG ISLAND OFFICE
                                           *
                                                 '---/
                                                                   .   '           Pc                 C?L.J..e,.s l'Jt'Jrt'--'- f_,cJ..J-
                                                                                        'l;ri'J/:O~if},cJ!;,,'.fp'e';) ~~/If ;_
                                                                                     n. Ca:f:h:J Vul::.ov,~ 'Prose, ~n<..
                                                                                   (CJO Wieio..j ~fa-~
                                                                                   ~r~ -:L5'Up 1 IJ'Y ({722...



    •\
                                                                                                                                                '
